     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 1 of 40 Page ID #:127



1
       Todd M. Friedman (SBN 216752)
2      Adrian R. Bacon (SBN 280332)
       LAW OFFICES OF TODD M. FRIEDMAN, P.C.
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7      abacon@toddflaw.com
       Attorneys for Plaintiff
8

9

10
                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12     STEVE GALLION, individually and                      Case No. 2:20-cv-09057-JAK-JEM
       on behalf of all others similarly
13
       situated,
14                                                          PLAINTIFF’S NOTICE OF MOTION
                   Plaintiff,                               AND MOTION FOR LEAVE TO
15
                                                            FILE FIRST AMENDED
16           vs.                                            COMPLAINT WITH PROPOSED
17
                                                            ORDER
       RX VALET, LLC, and DOES 1
18     through 10, inclusive, and each of
19     them,                                                Judge John A Kronstadt
20
                   Defendants.                              Date: May 17, 2021
21

22
                                                            Time: 8:30 A.M.

23           PLEASE TAKE NOTICE that on May 17, 2021, at 8:30 A.M., in
24
       Courtroom 10b, the United States District Court for the Central District of
25

26     California, located at First Street Courthouse, 350 W. First Street, Los Angeles,
27
       California 90012, Plaintiff, for himself and others similarly situated, will move
28

       this Court for an order granting Plaintiff’s Motion for Leave to File First


                       Notice of Motion and Motion for Leave to File First Amended Complaint - 1
     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 2 of 40 Page ID #:128



1
       Amended Complaint. In support of this motion, Plaintiff states as follows:
2
             Plaintiff seeks leave to file his First Amend Complaint to add Gregory P.
3

4      Santulli as a Defendant. Plaintiff has only changed the original complaint by
5
       adding Gregory P. Santulli as a Defendant, adding information about Gregory P.
6

7      Santulli, changing the caption of the complaint, and by changing the term
8
       “Defendant” into “Defendants” where appropriate.
9

10
             The following page and line numbers contain the above described changes

11     made to the original complaint:
12
                    Page 1; lines 11, 13, 14, 17, 19
13
                    Page 2; lines 7, 8, 15, 16, 27, 28
14                  Page 3; lines 1, 2, 3, 19, 20, 27
15                  Page 4; lines 1, 2, 3, 7, 14, 15, 16, 17, 19, 21, 22, 25
                    Page 5; lines 1, 2, 11, 20
16
                    Page 6: lines 2, 4, 13, 19, 21, 25
17                  Page 7: lines 5, 7, 13, 17, 27
18                  Page 8; lines 1, 2, 6, 16, 24, 27
                    Page 9; lines 10, 20, 23, 27
19
                    Page 10; lines 12, 16, 17, 18, 23, 26, 28
20                  Page 11; lines 8, 13, 16, 19, 21
21                  Page 12; lines 14, 22, 23, 27
                    Page 13; lines 3, 10, 11, 15, 26, 27
22
                    Page 14; lines 3, 16, 20, 27
23                  Page 15; lines 3, 12, 21
24                  Page 16; line 2
25
             Federal Rule of Civil Procedure 15(a)(2) states that “[t]he Court should
26
       freely give leave when justice so requires.” This motion is being filed for the
27

28     purpose of including all Defendants that Plaintiff reasonably believes are liable



                        Notice of Motion and Motion for Leave to File First Amended Complaint - 2
     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 3 of 40 Page ID #:129



1
       for the violations alleged. This motion was not filed for purposes of delay, nor for
2
       any other improper purpose. Defendant should not be prejudiced if the Court
3

4      allows the amendment.
5
             A copy of Plaintiff’s proposed First Amended Complaint is attached to this
6

7      Motion as Exhibit A. A copy of Plaintiff’s proposed Order Granting Motion for
8
       Leave to File First Amended Complaint is attached to this Motion as Exhibit B. A
9

10
       redlined copy of Plaintiff’s First Amended Complaint is attached to this Motion

11     as Exhibit C.
12
             Wherefore, Plaintiff respectfully requests this Honorable Court enter an
13

14     order granting Plaintiff Leave to File his First Amended Complaint in this matter,
15
       and granting any other relief deemed just and proper by this court.
16

17

18     Dated: January 20, 2021
19
                                          Respectfully submitted,
20
                                          LAW OFFICES OF TODD M. FRIEDMAN, P.C.
21

22                                                  By: /s/ Todd M. Friedman
23                                                      TODD M. FRIEDMAN, ESQ.
                                                        Attorney for Plaintiff
24

25

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27

28




                       Notice of Motion and Motion for Leave to File First Amended Complaint - 3
     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 4 of 40 Page ID #:130



1
       Filed electronically on this 20nd day of January, 2021, with:
2
       United States District Court CM/ECF system
3

4      Honorable John A. Kronstadt
5
       United States District Court
       Central District of California
6

7      /s/ Todd M. Friedman
       Todd M. Friedman
8
       Law Offices of Todd M. Friedman, P.C.
9      Attorney for Plaintiff
10

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                       Notice of Motion and Motion for Leave to File First Amended Complaint - 4
     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 5 of 40 Page ID #:131



1

2
                                                     EXHIBIT A
3

4

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                     Notice of Motion and Motion for Leave to File First Amended Complaint - 5
     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 6 of 40 Page ID #:132




 1     Todd M. Friedman (SBN 216752)
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 9
                             UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11                                              ) Case No. 2:20-cv-09057-JAK-JEM
       STEVE GALLION, individually and on )
12
       behalf of all others similarly situated, ) CLASS ACTION
13                                              )
14     Plaintiff,                               ) FIRST AMENDED
                                                ) COMPLAINT FOR VIOLATIONS
15            vs.                               ) OF:
16                                              )
       RX VALET, LLC, GREGORY P.                )    1. NEGLIGENT VIOLATIONS
17                                                         OF THE TELEPHONE
       SANTULLI, and DOES 1 through 10, )                  CONSUMER PROTECTION
18     inclusive, and each of them,             )          ACT [47 U.S.C. §227(b)]
                                                )    2.    WILLFUL VIOLATIONS
19                                                         OF THE TELEPHONE
       Defendants.                              )          CONSUMER PROTECTION
20                                              )          ACT [47 U.S.C. §227(b)]
21                                              )    3.    NEGLIGENT VIOLATIONS
                                                           OF THE TELEPHONE
                                                )          CONSUMER PROTECTION
22
                                                )          ACT [47 U.S.C. §227(c)]
23                                              )    4.    WILLFUL VIOLATIONS
                                                           OF THE TELEPHONE
24
                                                )          CONSUMER PROTECTION
                                                )          ACT [47 U.S.C. §227(c)]
25                                              )
26                                              )
                                                ) DEMAND FOR JURY TRIAL
27                                              )
28                                              )


                               CLASS ACTION COMPLAINT
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     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 7 of 40 Page ID #:133




 1           Plaintiff STEVE GALLION (“Plaintiff”), individually and on behalf of all
 2     others similarly situated, alleges the following upon information and belief based
 3     upon personal knowledge:
 4                                   NATURE OF THE CASE
 5           1.        Plaintiff brings this action individually and on behalf of all others
 6     similarly situated seeking damages and any other available legal or equitable
 7     remedies resulting from the illegal actions of RX VALET, LLC and GREGORY
 8     P. SANTULLI (“Defendants”), in negligently, knowingly, and/or willfully
 9     contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
10     Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11     regulations, specifically the National Do-Not-Call provisions, thereby invading
12     Plaintiff’s privacy.
13                                  JURISDICTION & VENUE
14           2.        Jurisdiction is proper under 28 U.S.C. § 1332(a)(1) because Plaintiff,
15     a resident of California, seeks relief for the violations of Defendants, a Georgia
16     limited liability company and a Georgia citizen. Plaintiff seeks $1,500.00 in
17     damages for each call in violation of the TCPA, which, when aggregated among a
18     proposed class in the thousands, exceeds the $75,000.00 threshold for federal court
19     jurisdiction.
20           3.        Venue is proper in the United States District Court for the Central
21     District of California pursuant to 28 U.S.C. § 1391(b)(2) because the a substantial
22     portion of the events giving rise to Plaintiff’s claims occurred in the County of San
23     Bernardino and within this District.
24                                            PARTIES
25           4.        Plaintiff, STEVE GALLION (“Plaintiff”), is a natural person residing
26     in Redlands, California and is a “person” as defined by 47 U.S.C. § 153 (39).
27           5.        Defendant, RX VALET, LLC (“Rx Valet”) is a pharmaceutical
28     discount marketer, and is a “person” as defined by 47 U.S.C. § 153 (39).


                                     CLASS ACTION COMPLAINT
                                                  -2-
     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 8 of 40 Page ID #:134




 1           6.      Defendant, GREGORY P. SANTULLI (“Santulli”) is the registered
 2     agent and CEO of Rx Valet, and is a “person” as defined by 47 U.S.C. § 153 (39).
 3           7.      The above named Defendants, and its subsidiaries and agents, are
 4     collectively referred to as “Defendants.” The true names and capacities of the
 5     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7     names. Each of the Defendants designated herein as a DOE is legally responsible
 8     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9     Complaint to reflect the true names and capacities of the DOE Defendants when
10     such identities become known.
11           8.      Plaintiff is informed and believes that at all relevant times, each and
12     every Defendant was acting as an agent and/or employee of each of the other
13     Defendants and was acting within the course and scope of said agency and/or
14     employment with the full knowledge and consent of each of the other Defendants.
15     Plaintiff is informed and believes that each of the acts and/or omissions complained
16     of herein was made known to, and ratified by, each of the other Defendants.
17                                FACTUAL ALLEGATIONS
18           9.      On or about December 15, 2019, Plaintiff received a text message
19     from Defendants on his cellular telephone, number ending in -6963.
20           10.     The message sent by Defendants read:
21
22                 RX VALET: Don’t let the cold season get you down for the
23                 holidays. Check out our great prices on Z-paks and other cold
24                 meds at www.MyRxValet.com. Reply HELP for help. STOP
25                 to cancel.
26
27           11.     Plaintiff, upon receipt of the message, responded to Defendants’ text
28     message notification by replying “Stop”.


                                   CLASS ACTION COMPLAINT
                                                -3-
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 1           12.      At that point, Plaintiff had withdrawn any consent Defendants might
 2     have believed Defendants had prior to that point. Despite Plaintiff’s responses,
 3     Defendants continued to send unwanted text messages to Plaintiff.
 4           13.      These text messages placed to Plaintiff’s cellular telephone were
 5     placed via an “automatic telephone dialing system,” (“ATDS”) as defined by 47
 6     U.S.C. § 227(a)(1) and prohibited by 47 U.S.C. § 227(b)(1)(A).
 7           14.      The telephone number that Defendants, or their agent texted was
 8     assigned to a cellular telephone service for which Plaintiff incurs a charge for
 9     incoming texts pursuant to 47 U.S.C. § 227(b)(1).
10           15.      These text messages constituted texts that were not for emergency
11     purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
12           16.      Moreover, Plaintiff’s cellular telephone number ending in -6963 had
13     been registered on the National Do-Not-Call Registry for over thirty (30) days prior
14     to Defendants’ initial message.
15           17.      Plaintiff was never a customer of Defendants and never provided his
16     cellular telephone number Defendants for any reason whatsoever. Accordingly,
17     Defendants and their agents never received Plaintiffs prior express consent to
18     receive unsolicited text messages, pursuant to 47 U.S.C. § 227 (b)(1)(A).
19           18.      These text messages by Defendants, or its agents, violated 47 U.S.C.
20     § 227(b)(1).
21           19.      Plaintiff requested for Defendants to stop messaging Plaintiff during
22     the initial contact from Defendants, thus revoking any prior express consent that
23     had existed and terminating any established business relationship that had existed,
24     as defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
25           20.      Despite this, Defendants continued to message Plaintiff in an attempt
26     to solicit its services and in violation of the National Do-Not-Call provisions of the
27     TCPA.
28           21.      Upon information and belief, and based on Plaintiff’s experiences of


                                    CLASS ACTION COMPLAINT
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 1   being messaged by Defendants after requesting they stop, and at all relevant times,
 2   Defendants failed to establish and implement reasonable practices and procedures
 3   to effectively prevent telephone solicitations in violation of the regulations
 4   prescribed under 47 U.S.C. § 227(c)(5).
 5                                CLASS ALLEGATIONS
 6         22.     Plaintiff brings this action individually and on behalf of all others
 7   similarly situated, as a member the four proposed classes (hereafter, jointly, “The
 8   Classes”). The class concerning the ATDS claim for no prior express consent
 9   (hereafter “The ATDS Class”) is defined as follows:
10
                   All persons within the United States who received any
11                 solicitation/telemarketing messages from Defendants to
12                 said person’s cellular telephone made through the use of
                   any automatic telephone dialing system and such person
13
                   had not previously consented to receiving such messages
14                 within the four years prior to the filing of this Complaint
15
                   through the date of class certification.

16
           23.     The class concerning the ATDS claim for revocation of consent, to the
17
     extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
18
     as follows:
19
20                 All persons within the United States who received any
                   solicitation/telemarketing messages from Defendants to
21
                   said person’s cellular telephone made through the use of
22                 any automatic telephone dialing system and such person
                   had revoked any prior express consent to receive such
23
                   messages prior to the messages within the four years
24                 prior to the filing of this Complaint through the date of
25                 class certification.
26
           24.     The class concerning the National Do-Not-Call violation (hereafter
27
     “The DNC Class”) is defined as follows:
28



                                 CLASS ACTION COMPLAINT
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 1                All persons within the United States registered on the
                  National Do-Not-Call Registry for at least 30 days, who
 2                had not granted Defendants prior express consent nor
 3                had a prior established business relationship, who
                  received more than one message made by or on behalf of
 4
                  Defendants that promoted Defendants’ products or
 5                services, within any twelve-month period, within four
 6
                  years prior to the filing of the complaint through the date
                  of class certification.
 7
           25.    The class concerning the National Do-Not-Call violation following
 8
     revocation of consent and prior business relationship, to the extent they existed
 9
     (hereafter “The DNC Revocation Class”) is defined as follows:
10
11                All persons within the United States registered on the
                  National Do-Not-Call Registry for at least 30 days, who
12
                  received more than one message made by or on behalf of
13                Defendants that promoted Defendants’ products or
                  services, after having revoked consent and any prior
14
                  established business relationship, within any twelve-
15                month period, within four years prior to the filing of the
16                complaint through the date of class certification.
17
           26.    Plaintiff represents, and is a member of, The ATDS Class, consisting
18
     of all persons within the United States who received any solicitation messages from
19
     Defendants to said person’s cellular telephone made through the use of any
20
     automatic telephone dialing system and such person had not previously not
21
     provided their cellular telephone number to Defendants within the four years prior
22
     to the filing of this Complaint through the date of class certification.
23
           27.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
24
     consisting of all persons within the United States who received any
25
     solicitation/telemarketing messages from Defendants to said person’s cellular
26
     telephone made through the use of any automatic telephone dialing system and
27
     such person had revoked any prior express consent to receive such messages prior
28



                                 CLASS ACTION COMPLAINT
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 Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 12 of 40 Page ID #:138




 1   to the messages within the four years prior to the filing of this Complaint through
 2   the date of class certification.
 3          28.    Plaintiff represents, and is a member of, The DNC Class, consisting
 4   of all persons within the United States registered on the National Do-Not-Call
 5   Registry for at least 30 days, who had not granted Defendants prior express consent
 6   nor had a prior established business relationship, who received more than one
 7   message made by or on behalf of Defendants that promoted Defendants’ products
 8   or services, within any twelve-month period, within four years prior to the filing of
 9   the complaint through the date of class certification.
10          29.    Plaintiff represents, and is a member of, The DNC Revocation Class,
11   consisting of all persons within the United States registered on the National Do-
12   Not-Call Registry for at least 30 days, who received more than one message made
13   by or on behalf of Defendants that promoted Defendants’ products or services, after
14   having revoked consent and any prior established business relationship, within any
15   twelve-month period, within four years prior to the filing of the complaint through
16   the date of class certification.
17          30.    Defendants, their employees and agents are excluded from The
18   Classes. Plaintiff does not know the number of members in The Classes, but
19   believes the Classes members number in the thousands, if not more. Thus, this
20   matter should be certified as a Class Action to assist in the expeditious litigation of
21   the matter.
22          31.    The Classes are so numerous that the individual joinder of all of its
23   members is impractical. While the exact number and identities of The Classes
24   members are unknown to Plaintiff at this time and can only be ascertained through
25   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
26   The Classes includes thousands of members. Plaintiff alleges that The Classes
27   members may be ascertained by the records maintained by Defendants.
28          32.    Plaintiff and members of The ATDS Class and The ATDS Revocation


                                  CLASS ACTION COMPLAINT
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 1   Class were harmed by the acts of Defendants in at least the following ways:
 2   Defendants illegally contacted Plaintiff and ATDS Class members via their cellular
 3   telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
 4   members to incur certain charges or reduced telephone time for which Plaintiff and
 5   ATDS Class and ATDS Revocation Class members had previously paid by having
 6   to retrieve or administer messages left by Defendants during those illegal calls, and
 7   invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
 8   members.
 9         33.    Common questions of fact and law exist as to all members of The
10   ATDS Class which predominate over any questions affecting only individual
11   members of The ATDS Class. These common legal and factual questions, which
12   do not vary between ATDS Class members, and which may be determined without
13   reference to the individual circumstances of any ATDS Class members, include,
14   but are not limited to, the following:
15                a.     Whether, within the four years prior to the filing of this
16                       Complaint through the date of class certification, Defendants
17                       made any telemarketing/solicitation message (other than a
18                       message made for emergency purposes or made with the prior
19                       express consent of the called party) to a ATDS Class member
20                       using any automatic telephone dialing system to any telephone
21                       number assigned to a cellular telephone service;
22                b.     Whether Plaintiff and the ATDS Class members were damaged
23                       thereby, and the extent of damages for such violation; and
24                c.     Whether Defendants should be enjoined from engaging in such
25                       conduct in the future.
26         34.    As a person that received numerous telemarketing/solicitation
27   messages from Defendants using an automatic telephone dialing system, without
28   Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The


                                 CLASS ACTION COMPLAINT
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 1   ATDS Class.
 2         35.    Common questions of fact and law exist as to all members of The
 3   ATDS Revocation Class which predominate over any questions affecting only
 4   individual members of The ATDS Revocation Class. These common legal and
 5   factual questions, which do not vary between ATDS Revocation Class members,
 6   and which may be determined without reference to the individual circumstances of
 7   any ATDS Revocation Class members, include, but are not limited to, the
 8   following:
 9                a.    Whether, within the four years prior to the filing of this
10                      Complaint through the date of class certification, Defendants
11                      made any telemarketing/solicitation message (other than a
12                      message made for emergency purposes or made with the prior
13                      express consent of the called party) to an ATDS Revocation
14                      Class member, who had revoked any prior express consent to
15                      be called using any automatic telephone dialing system to any
16                      telephone number assigned to a cellular telephone service;
17                b.    Whether Plaintiff and the ATDS Revocation Class members
18                      were damaged thereby, and the extent of damages for such
19                      violation; and
20                c.    Whether Defendants should be enjoined from engaging in such
21                      conduct in the future.
22         36.    As a person that received numerous telemarketing/solicitation
23   messages from Defendants using an automatic telephone dialing system, after
24   Plaintiff had revoked any prior express consent, Plaintiff is asserting claims that
25   are typical of The ATDS Revocation Class.
26         37.    Plaintiff and members of The DNC Class and DNC Revocation Class
27   were harmed by the acts of Defendants in at least the following ways: Defendants
28   illegally contacted Plaintiff and DNC Class and DNC Revocation Class members


                                CLASS ACTION COMPLAINT
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 1   via their telephones for solicitation purposes, thereby invading the privacy of said
 2   Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
 3   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
 4   and DNC Revocation Class members were damaged thereby.
 5         38.    Common questions of fact and law exist as to all members of The
 6   DNC Class which predominate over any questions affecting only individual
 7   members of The DNC Class. These common legal and factual questions, which do
 8   not vary between DNC Class members, and which may be determined without
 9   reference to the individual circumstances of any DNC Class members, include, but
10   are not limited to, the following:
11                a.     Whether, within the four years prior to the filing of this
12                       Complaint through the date of class certification, Defendants or
13                       its agents placed more than one solicitation message to the
14                       members of the DNC Class whose telephone numbers were on
15                       the National Do-Not-Call Registry and who had not granted
16                       prior express consent to Defendants and did not have an
17                       established business relationship with Defendants;
18                b.     Whether Defendants obtained prior express written consent to
19                       place solicitation messages to Plaintiff or the DNC Class
20                       members’ telephones;
21                c.     Whether Plaintiff and the DNC Class members were damaged
22                       thereby, and the extent of damages for such violation; and
23                d.     Whether Defendants and their agents should be enjoined from
24                       engaging in such conduct in the future.
25         39.    As a person that received numerous solicitation messages from
26   Defendants within a 12-month period, who had not granted Defendants prior
27   express consent and did not have an established business relationship with
28   Defendants, Plaintiff is asserting claims that are typical of the DNC Class.


                                 CLASS ACTION COMPLAINT
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 1            40.   Common questions of fact and law exist as to all members of The
 2   DNC Class which predominate over any questions affecting only individual
 3   members of The DNC Revocation Class.               These common legal and factual
 4   questions, which do not vary between DNC Revocation Class members, and which
 5   may be determined without reference to the individual circumstances of any DNC
 6   Revocation Class members, include, but are not limited to, the following:
 7                  a.    Whether, within the four years prior to the filing of this
 8                        Complaint through the date of class certification, Defendants or
 9                        its agents placed more than one solicitation message to the
10                        members of the DNC Class whose telephone numbers were on
11                        the National Do-Not-Call Registry and who had revoked any
12                        prior express consent and any established business relationship
13                        with Defendants;
14                  b.    Whether Plaintiff and the DNC Class members were damaged
15                        thereby, and the extent of damages for such violation; and
16                  c.    Whether Defendants and its agents should be enjoined from
17                        engaging in such conduct in the future.
18            41.   As a person that received numerous solicitation messages from
19   Defendants within a 12-month period, who, to the extent one existed, had revoked
20   any prior express consent and any established business relationship with
21   Defendants, Plaintiff is asserting claims that are typical of the DNC Revocation
22   Class.
23            42.   Plaintiff will fairly and adequately protect the interests of the members
24   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
25   class actions.
26            43.   A class action is superior to other available methods of fair and
27   efficient adjudication of this controversy, since individual litigation of the claims
28   of all Classes members is impracticable. Even if every Classes member could


                                  CLASS ACTION COMPLAINT
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 1   afford individual litigation, the court system could not. It would be unduly
 2   burdensome to the courts in which individual litigation of numerous issues would
 3   proceed. Individualized litigation would also present the potential for varying,
 4   inconsistent, or contradictory judgments and would magnify the delay and expense
 5   to all parties and to the court system resulting from multiple trials of the same
 6   complex factual issues. By contrast, the conduct of this action as a class action
 7   presents fewer management difficulties, conserves the resources of the parties and
 8   of the court system, and protects the rights of each Classes member.
 9         44.     The prosecution of separate actions by individual Classes members
10   would create a risk of adjudications with respect to them that would, as a practical
11   matter, be dispositive of the interests of the other Classes members not parties to
12   such adjudications or that would substantially impair or impede the ability of such
13   non-party Class members to protect their interests.
14         45.     Defendants have acted or refused to act in respects generally
15   applicable to The Classes, thereby making appropriate final and injunctive relief
16   with regard to the members of the Classes as a whole.
17                             FIRST CAUSE OF ACTION
18         Negligent Violations of the Telephone Consumer Protection Act
19                                    47 U.S.C. §227(b).
20               On Behalf of the ATDS Class and ATDS Revocation Class
21         46.     Plaintiff repeats and incorporates by reference into this cause of action
22   the allegations set forth above at Paragraphs 1-45.
23         47.     The foregoing acts and omissions of Defendants constitute numerous
24   and multiple negligent violations of the TCPA, including but not limited to each
25   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
26   47 U.S.C. § 227 (b)(1)(A).
27         48.     As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b),
28   Plaintiff and the Class Members are entitled to an award of $500.00 in statutory


                                  CLASS ACTION COMPLAINT
                                              - 12 -
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 1   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 2         49.    Plaintiff and the ATDS Class and ATDS Revocation Class members
 3   are also entitled to and seek injunctive relief prohibiting such conduct in the future.
 4
 5                            SECOND CAUSE OF ACTION
 6    Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                            Act
 8                                    47 U.S.C. §227(b)
 9           On Behalf of the ATDS Class and the ATDS Revocation Class
10         50.    Plaintiff repeats and incorporates by reference into this cause of action
11   the allegations set forth above at Paragraphs 1-45.
12         51.    The foregoing acts and omissions of Defendants constitute numerous
13   and multiple knowing and/or willful violations of the TCPA, including but not
14   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
15   and in particular 47 U.S.C. § 227 (b)(1)(A).
16         52.    As a result of Defendants’ knowing and/or willful violations of 47
17   U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
18   members are entitled to an award of $1,500.00 in statutory damages, for each and
19   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
20         53.    Plaintiff and the Class members are also entitled to and seek injunctive
21   relief prohibiting such conduct in the future.
22                             THIRD CAUSE OF ACTION
23          Negligent Violations of the Telephone Consumer Protection Act
24                                    47 U.S.C. §227(c)
25            On Behalf of the DNC Class and the DNC Revocation Class
26         54.    Plaintiff repeats and incorporates by reference into this cause of action
27   the allegations set forth above at Paragraphs 1-45.
28         55.    The foregoing acts and omissions of Defendants constitute numerous


                                 CLASS ACTION COMPLAINT
                                              - 13 -
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 1   and multiple negligent violations of the TCPA, including but not limited to each
 2   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
 3   47 U.S.C. § 227 (c)(5).
 4         56.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(c),
 5   Plaintiff and the DNC Class and DNC Revocation Class Members are entitled to
 6   an award of $500.00 in statutory damages, for each and every violation, pursuant
 7   to 47 U.S.C. § 227(c)(5)(B).
 8         57.    Plaintiff and the DNC Class and DNC Revocation Class members are
 9   also entitled to and seek injunctive relief prohibiting such conduct in the future.
10                             FOURTH CAUSE OF ACTION
11    Knowing and/or Willful Violations of the Telephone Consumer Protection
12                                           Act
13                                  47 U.S.C. §227 et seq.
14               On Behalf of the DNC Class and DNC Revocation Class
15         58.    Plaintiff repeats and incorporates by reference into this cause of action
16   the allegations set forth above at Paragraphs 1-44.
17         59.    The foregoing acts and omissions of Defendants constitute numerous
18   and multiple knowing and/or willful violations of the TCPA, including but not
19   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
20   in particular 47 U.S.C. § 227 (c)(5).
21         60.    As a result of Defendants’ knowing and/or willful violations of 47
22   U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
23   are entitled to an award of $1,500.00 in statutory damages, for each and every
24   violation, pursuant to 47 U.S.C. § 227(c)(5).
25         61.    Plaintiff and the DNC Class and DNC Revocation Class members are
26   also entitled to and seek injunctive relief prohibiting such conduct in the future.
27                                PRAYER FOR RELIEF
28   WHEREFORE, Plaintiff requests judgment against Defendants for the following:


                                 CLASS ACTION COMPLAINT
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 1                         FIRST CAUSE OF ACTION
 2       Negligent Violations of the Telephone Consumer Protection Act
 3                               47 U.S.C. §227(b)
 4            As a result of Defendants’ negligent violations of 47 U.S.C.
 5             §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
 6             Class members are entitled to and request $500 in statutory damages,
 7             for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
 8            Any and all other relief that the Court deems just and proper.
 9                       SECOND CAUSE OF ACTION
10   Knowing and/or Willful Violations of the Telephone Consumer Protection
11                                       Act
12                               47 U.S.C. §227(b)
13            As a result of Defendants’ willful and/or knowing violations of 47
14             U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
15             Revocation Class members are entitled to and request treble damages,
16             as provided by statute, up to $1,500, for each and every violation,
17             pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
18            Any and all other relief that the Court deems just and proper.
19                        THIRD CAUSE OF ACTION
20       Negligent Violations of the Telephone Consumer Protection Act
21                               47 U.S.C. §227(c)
22            As a result of Defendants’ negligent violations of 47 U.S.C.
23             §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
24             members are entitled to and request $500 in statutory damages, for
25             each and every violation, pursuant to 47 U.S.C. 227(c)(5).
26            Any and all other relief that the Court deems just and proper.
27                       FOURTH CAUSE OF ACTION
28



                             CLASS ACTION COMPLAINT
                                         - 15 -
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 1    Knowing and/or Willful Violations of the Telephone Consumer Protection
 2                                            Act
 3                                     47 U.S.C. §227(c)
 4                As a result of Defendants’ willful and/or knowing violations of 47
 5                U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
 6                Class members are entitled to and request treble damages, as provided
 7                by statute, up to $1,500, for each and every violation, pursuant to 47
 8                U.S.C. §227(c)(5).
 9                Any and all other relief that the Court deems just and proper.
10
11         62.    Pursuant to the Seventh Amendment to the Constitution of the United
12   States of America, Plaintiff is entitled to, and demands, a trial by jury.
13
14
15         Respectfully Submitted this 20th Day of January, 2021.
16                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17
                                        By: /s/ Todd M. Friedman
18                                          Todd M. Friedman
19
                                            Law Offices of Todd M. Friedman
                                            Attorney for Plaintiff
20
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                                 CLASS ACTION COMPLAINT
                                              - 16 -
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2
                                      EXHIBIT B
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     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 23 of 40 Page ID #:149




 1                        IN THE UNITED STATES DISTRICT COURT
 2                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
       STEVE GALLION, individually and             Case No. 2:20-cv-09057-JAK-JEM
 4     on behalf of all others similarly
       situated,
 5                                                 [PROPOSED] ORDER GRANTING
                        Plaintiff,
 6                                                 MOTION FOR LEAVE TO FILE
                vs.                                FIRST AMENDED COMPLAINT
 7
       RX VALET, LLC, and DOES 1
 8     through 10, inclusive, and each of
       them,
 9
                        Defendants.
10

11

12
             Before the Court is the Plaintiff’s Motion for Leave to File First Amended
13     Complaint. Having considered the Motion, and good cause appearing therefor, the
14
       Court grants the Plaintiff’s Motion and orders as follows.

15              Plaintiff shall file his First Amended Complaint within seven days of this
16
       order.

17

18
                IT IS SO ORDERED:

19

20
       DATED: ________, 2020                    BY:______________________________
                                                   Honorable JOHN A. KRONSTADT
21                                                 United States District Judge
22

23

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28                    PROPOSED ORDER GRANTING LEAVE TO FILE FIRST AMENDED COMPLAINT
 Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 24 of 40 Page ID #:150



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                                      EXHIBIT C
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     Case 2:20-cv-09057-JAK-JEM Document 15 Filed 01/20/21 Page 25 of 40 Page ID #:151




1    Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
2    Meghan E. George (SBN 274525)
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6
     tfriedman@ toddflaw.com
7    abacon@ toddflaw.com
8    mgeorge@toddflaw.com
     Attorneys for Plaintiff
9
                           UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11                                            ) Case No. 2:20-cv-09057-JAK-JEM
     STEVE GALLION, individually and on )
12
     behalf of all others similarly situated, ) CLASS ACTION
13                                            )
14   Plaintiff,                               ) FIRST AMENDED                      Formatted: No underline

                                              ) COMPLAINT FOR VIOLATIONS
15          vs.                               ) OF:
16                                            )
     RX VALET, LLC, GREGORY P.                )    1. NEGLIGENT VIOLATIONS
17                                                       OF THE TELEPHONE
     SANTULLI, and DOES 1 through 10, )                  CONSUMER PROTECTION
18   inclusive, and each of them,             )          ACT [47 U.S.C. §227(b)]
                                              )    2. WILLFUL VIOLATIONS
19                                                       OF THE TELEPHONE
     Defendants.                              )          CONSUMER PROTECTION
20                                            )          ACT [47 U.S.C. §227(b)]
21                                            )    3. NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
                                              )          CONSUMER PROTECTION
22
                                              )          ACT [47 U.S.C. §227(c)]
23                                            )    4. WILLFUL VIOLATIONS
                                                         OF THE TELEPHONE
24
                                              )          CONSUMER PROTECTION
                                              )          ACT [47 U.S.C. §227(c)]
25                                            )
26                                            )
                                              ) DEMAND FOR JURY TRIAL
27                                            )
28                                            )


                             CLASS ACTION COMPLAINT
                                         -1-
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1          Plaintiff STEVE GALLION (“Plaintiff”), individually and on behalf of all
2    others similarly situated, alleges the following upon information and belief based
3    upon personal knowledge:
4                                  NATURE OF THE CASE
5          1.        Plaintiff brings this action individually and on behalf of all others
6    similarly situated seeking damages and any other available legal or equitable
7    remedies resulting from the illegal actions of RX VALET, LLC and GREGORY
8    P. SANTULLI (“Defendants”), in negligently, knowingly, and/or willfully
9    contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
10   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11   regulations, specifically the National Do-Not-Call provisions, thereby invading
12   Plaintiff’s privacy.
13                                JURISDICTION & VENUE
14         2.        Jurisdiction is proper under 28 U.S.C. § 1332(a)(1) because Plaintiff,
15   a resident of California, seeks relief for the violations of Defendants, a Georgia
16   limited liability company and a Georgia citizen. Plaintiff seeks $1,500.00 in
17   damages for each call in violation of the TCPA, which, when aggregated among a
18   proposed class in the thousands, exceeds the $75,000.00 threshold for federal court
19   jurisdiction.
20         3.        Venue is proper in the United States District Court for the Central
21   District of California pursuant to 28 U.S.C. § 1391(b)(2) because the a substantial
22   portion of the events giving rise to Plaintiff’s claims occurred in the County of San
23   Bernardino and within this District.
24                                          PARTIES
25         4.        Plaintiff, STEVE GALLION (“Plaintiff”), is a natural person residing
26   in Redlands, California and is a “person” as defined by 47 U.S.C. § 153 (39).
27         5.        Defendant, RX VALET, LLC (“Rx ValetDefendant”) is a
28   pharmaceutical discount marketer, and is a “person” as defined by 47 U.S.C. § 153


                                   CLASS ACTION COMPLAINT
                                                -2-
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1    (39).
2            5.6.     Defendant, GREGORY P. SANTULLI (“Santulli”) is the registered
3    agent and CEO of Rx Valet, and is a “person” as defined by 47 U.S.C. § 153 (39).
4            6.7.     The above named Defendants, and its subsidiaries and agents, are
5    collectively referred to as “Defendants.” The true names and capacities of the
6    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
7    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
8    names. Each of the Defendants designated herein as a DOE is legally responsible
9    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
10   Complaint to reflect the true names and capacities of the DOE Defendants when
11   such identities become known.
12           7.8.     Plaintiff is informed and believes that at all relevant times, each and
13   every Defendant was acting as an agent and/or employee of each of the other
14   Defendants and was acting within the course and scope of said agency and/or
15   employment with the full knowledge and consent of each of the other Defendants.
16   Plaintiff is informed and believes that each of the acts and/or omissions complained
17   of herein was made known to, and ratified by, each of the other Defendants.
18                                 FACTUAL ALLEGATIONS
19           8.9.     On or about December 15, 2019, Plaintiff received a text message
20   from Defendants on his cellular telephone, number ending in -6963.
21           9.10. The message sent by Defendants read:
22
23                  RX VALET: Don’t let the cold season get you down for the
24                  holidays. Check out our great prices on Z-paks and other cold
25                  meds at www.MyRxValet.com. Reply HELP for help. STOP
26                  to cancel.
27
28           10.11. Plaintiff, upon receipt of the message, responded to Defendant’s’ text


                                    CLASS ACTION COMPLAINT
                                                 -3-
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1    message notification by replying “Stop”.
2          11.12. At that point, Plaintiff had withdrawn any consent Defendants might
3    have believed Defendants had prior to that point. Despite Plaintiff’s responses,
4    Defendants continued to send unwanted text messages to Plaintiff.
5          12.13. These text messages placed to Plaintiff’s cellular telephone were
6    placed via an “automatic telephone dialing system,” (“ATDS”) as defined by 47
7    U.S.C. § 227(a)(1) and prohibited by 47 U.S.C. § 227(b)(1)(A).
8          13.14. The telephone number that Defendants, or their agent texted was
9    assigned to a cellular telephone service for which Plaintiff incurs a charge for
10   incoming texts pursuant to 47 U.S.C. § 227(b)(1).
11         14.15. These text messages constituted texts that were not for emergency
12   purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
13         15.16. Moreover, Plaintiff’s cellular telephone number ending in -6963 had
14   been registered on the National Do-Not-Call Registry for over thirty (30) days prior
15   to Defendant’s’ initial message.
16         16.17. Plaintiff was never a customer of Defendants and never provided his
17   cellular telephone number Defendants for any reason whatsoever. Accordingly,
18   Defendants and their agents never received Plaintiffs prior express consent to
19   receive unsolicited text messages, pursuant to 47 U.S.C. § 227 (b)(1)(A).
20         17.18. These text messages by Defendants, or its agents, violated 47 U.S.C.
21   § 227(b)(1).
22         18.19. Plaintiff requested for Defendants to stop messaging Plaintiff during
23   the initial contact from Defendants, thus revoking any prior express consent that
24   had existed and terminating any established business relationship that had existed,
25   as defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
26         19.20. Despite this, Defendants continued to message Plaintiff in an attempt
27   to solicit its services and in violation of the National Do-Not-Call provisions of the
28   TCPA.


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1          20.21. Upon information and belief, and based on Plaintiff’s experiences of
2    being messaged by Defendants after requesting they stop, and at all relevant times,
3    Defendants failed to establish and implement reasonable practices and procedures
4    to effectively prevent telephone solicitations in violation of the regulations
5    prescribed under 47 U.S.C. § 227(c)(5).
6                                 CLASS ALLEGATIONS
7          21.22. Plaintiff brings this action individually and on behalf of all others
8    similarly situated, as a member the four proposed classes (hereafter, jointly, “The
9    Classes”). The class concerning the ATDS claim for no prior express consent
10   (hereafter “The ATDS Class”) is defined as follows:
11
                   All persons within the United States who received any
12                 solicitation/telemarketing messages from Defendants to
13                 said person’s cellular telephone made through the use of
                   any automatic telephone dialing system and such person
14
                   had not previously consented to receiving such messages
15                 within the four years prior to the filing of this Complaint
16
                   through the date of class certification.

17
           22.23. The class concerning the ATDS claim for revocation of consent, to the
18
     extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
19
     as follows:
20
21                 All persons within the United States who received any
                   solicitation/telemarketing messages from Defendants to
22
                   said person’s cellular telephone made through the use of
23                 any automatic telephone dialing system and such person
                   had revoked any prior express consent to receive such
24
                   messages prior to the messages within the four years
25                 prior to the filing of this Complaint through the date of
26                 class certification.
27
           23.24. The class concerning the National Do-Not-Call violation (hereafter
28



                                 CLASS ACTION COMPLAINT
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1    “The DNC Class”) is defined as follows:
2
                  All persons within the United States registered on the
3                 National Do-Not-Call Registry for at least 30 days, who
4                 had not granted Defendants prior express consent nor
                  had a prior established business relationship, who
5
                  received more than one message made by or on behalf of
6                 Defendants that promoted Defendant’s’ products or
7
                  services, within any twelve-month period, within four
                  years prior to the filing of the complaint through the date
8                 of class certification.
9          24.25. The class concerning the National Do-Not-Call violation following
10   revocation of consent and prior business relationship, to the extent they existed
11   (hereafter “The DNC Revocation Class”) is defined as follows:
12
                  All persons within the United States registered on the
13
                  National Do-Not-Call Registry for at least 30 days, who
14                received more than one message made by or on behalf of
                  Defendants that promoted Defendant’s’ products or
15
                  services, after having revoked consent and any prior
16                established business relationship, within any twelve-
17                month period, within four years prior to the filing of the
                  complaint through the date of class certification.
18
19         25.26. Plaintiff represents, and is a member of, The ATDS Class, consisting
20   of all persons within the United States who received any solicitation messages from
21   Defendants to said person’s cellular telephone made through the use of any
22   automatic telephone dialing system and such person had not previously not
23   provided their cellular telephone number to Defendants within the four years prior
24   to the filing of this Complaint through the date of class certification.
25         26.27. Plaintiff represents, and is a member of, The ATDS Revocation Class,
26   consisting of all persons within the United States who received any
27   solicitation/telemarketing messages from Defendants to said person’s cellular
28   telephone made through the use of any automatic telephone dialing system and


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1    such person had revoked any prior express consent to receive such messages prior
2    to the messages within the four years prior to the filing of this Complaint through
3    the date of class certification.
4           27.28. Plaintiff represents, and is a member of, The DNC Class, consisting
5    of all persons within the United States registered on the National Do-Not-Call
6    Registry for at least 30 days, who had not granted Defendants prior express consent
7    nor had a prior established business relationship, who received more than one
8    message made by or on behalf of Defendants that promoted Defendant’s’ products
9    or services, within any twelve-month period, within four years prior to the filing of
10   the complaint through the date of class certification.
11          28.29. Plaintiff represents, and is a member of, The DNC Revocation Class,
12   consisting of all persons within the United States registered on the National Do-
13   Not-Call Registry for at least 30 days, who received more than one message made
14   by or on behalf of Defendants that promoted Defendant’s’ products or services,
15   after having revoked consent and any prior established business relationship, within
16   any twelve-month period, within four years prior to the filing of the complaint
17   through the date of class certification.
18          29.30. Defendants, theirits employees and agents are excluded from The
19   Classes. Plaintiff does not know the number of members in The Classes, but
20   believes the Classes members number in the thousands, if not more. Thus, this
21   matter should be certified as a Class Action to assist in the expeditious litigation of
22   the matter.
23          30.31. The Classes are so numerous that the individual joinder of all of its
24   members is impractical. While the exact number and identities of The Classes
25   members are unknown to Plaintiff at this time and can only be ascertained through
26   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27   The Classes includes thousands of members. Plaintiff alleges that The Classes
28   members may be ascertained by the records maintained by Defendants.


                                  CLASS ACTION COMPLAINT
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1          31.32. Plaintiff and members of The ATDS Class and The ATDS Revocation
2    Class were harmed by the acts of Defendants in at least the following ways:
3    Defendants illegally contacted Plaintiff and ATDS Class members via their cellular
4    telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
5    members to incur certain charges or reduced telephone time for which Plaintiff and
6    ATDS Class and ATDS Revocation Class members had previously paid by having
7    to retrieve or administer messages left by Defendants during those illegal calls, and
8    invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
9    members.
10         32.33. Common questions of fact and law exist as to all members of The
11   ATDS Class which predominate over any questions affecting only individual
12   members of The ATDS Class. These common legal and factual questions, which
13   do not vary between ATDS Class members, and which may be determined without
14   reference to the individual circumstances of any ATDS Class members, include,
15   but are not limited to, the following:
16                a.     Whether, within the four years prior to the filing of this
17                       Complaint through the date of class certification, Defendants
18                       made any telemarketing/solicitation message (other than a
19                       message made for emergency purposes or made with the prior
20                       express consent of the called party) to a ATDS Class member
21                       using any automatic telephone dialing system to any telephone
22                       number assigned to a cellular telephone service;
23                b.     Whether Plaintiff and the ATDS Class members were damaged
24                       thereby, and the extent of damages for such violation; and
25                c.     Whether Defendants should be enjoined from engaging in such
26                       conduct in the future.
27         33.34. As a person that received numerous telemarketing/solicitation
28   messages from Defendants using an automatic telephone dialing system, without


                                 CLASS ACTION COMPLAINT
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1    Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
2    ATDS Class.
3          34.35. Common questions of fact and law exist as to all members of The
4    ATDS Revocation Class which predominate over any questions affecting only
5    individual members of The ATDS Revocation Class. These common legal and
6    factual questions, which do not vary between ATDS Revocation Class members,
7    and which may be determined without reference to the individual circumstances of
8    any ATDS Revocation Class members, include, but are not limited to, the
9    following:
10                a.     Whether, within the four years prior to the filing of this
11                       Complaint through the date of class certification, Defendants
12                       made any telemarketing/solicitation message (other than a
13                       message made for emergency purposes or made with the prior
14                       express consent of the called party) to an ATDS Revocation
15                       Class member, who had revoked any prior express consent to
16                       be called using any automatic telephone dialing system to any
17                       telephone number assigned to a cellular telephone service;
18                b.     Whether Plaintiff and the ATDS Revocation Class members
19                       were damaged thereby, and the extent of damages for such
20                       violation; and
21                c.     Whether Defendants should be enjoined from engaging in such
22                       conduct in the future.
23         35.36. As a person that received numerous telemarketing/solicitation
24   messages from Defendants using an automatic telephone dialing system, after
25   Plaintiff had revoked any prior express consent, Plaintiff is asserting claims that
26   are typical of The ATDS Revocation Class.
27         36.37. Plaintiff and members of The DNC Class and DNC Revocation Class
28   were harmed by the acts of Defendants in at least the following ways: Defendants


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1    illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
2    via their telephones for solicitation purposes, thereby invading the privacy of said
3    Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
4    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
5    and DNC Revocation Class members were damaged thereby.
6          37.38. Common questions of fact and law exist as to all members of The
7    DNC Class which predominate over any questions affecting only individual
8    members of The DNC Class. These common legal and factual questions, which do
9    not vary between DNC Class members, and which may be determined without
10   reference to the individual circumstances of any DNC Class members, include, but
11   are not limited to, the following:
12                a.     Whether, within the four years prior to the filing of this
13                       Complaint through the date of class certification, Defendants or
14                       its agents placed more than one solicitation message to the
15                       members of the DNC Class whose telephone numbers were on
16                       the National Do-Not-Call Registry and who had not granted
17                       prior express consent to Defendants and did not have an
18                       established business relationship with Defendants;
19                b.     Whether Defendants obtained prior express written consent to
20                       place solicitation messages to Plaintiff or the DNC Class
21                       members’ telephones;
22                c.     Whether Plaintiff and the DNC Class members were damaged
23                       thereby, and the extent of damages for such violation; and
24                d.     Whether Defendants and theirits agents should be enjoined
25                       from engaging in such conduct in the future.
26         38.39. As a person that received numerous solicitation messages from
27   Defendants within a 12-month period, who had not granted Defendants prior
28   express consent and did not have an established business relationship with


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1    Defendants, Plaintiff is asserting claims that are typical of the DNC Class.
2             39.40. Common questions of fact and law exist as to all members of The
3    DNC Class which predominate over any questions affecting only individual
4    members of The DNC Revocation Class.                These common legal and factual
5    questions, which do not vary between DNC Revocation Class members, and which
6    may be determined without reference to the individual circumstances of any DNC
7    Revocation Class members, include, but are not limited to, the following:
8                   a.     Whether, within the four years prior to the filing of this
9                          Complaint through the date of class certification, Defendants or
10                         its agents placed more than one solicitation message to the
11                         members of the DNC Class whose telephone numbers were on
12                         the National Do-Not-Call Registry and who had revoked any
13                         prior express consent and any established business relationship
14                         with Defendants;
15                  b.     Whether Plaintiff and the DNC Class members were damaged
16                         thereby, and the extent of damages for such violation; and
17                  c.     Whether Defendants and its agents should be enjoined from
18                         engaging in such conduct in the future.
19            40.41. As a person that received numerous solicitation messages from
20   Defendants within a 12-month period, who, to the extent one existed, had revoked
21   any prior express consent and any established business relationship with
22   Defendants, Plaintiff is asserting claims that are typical of the DNC Revocation
23   Class.
24            41.42. Plaintiff will fairly and adequately protect the interests of the members
25   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
26   class actions.
27            42.43. A class action is superior to other available methods of fair and
28   efficient adjudication of this controversy, since individual litigation of the claims


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1    of all Classes members is impracticable. Even if every Classes member could
2    afford individual litigation, the court system could not. It would be unduly
3    burdensome to the courts in which individual litigation of numerous issues would
4    proceed. Individualized litigation would also present the potential for varying,
5    inconsistent, or contradictory judgments and would magnify the delay and expense
6    to all parties and to the court system resulting from multiple trials of the same
7    complex factual issues. By contrast, the conduct of this action as a class action
8    presents fewer management difficulties, conserves the resources of the parties and
9    of the court system, and protects the rights of each Classes member.
10         43.44. The prosecution of separate actions by individual Classes members
11   would create a risk of adjudications with respect to them that would, as a practical
12   matter, be dispositive of the interests of the other Classes members not parties to
13   such adjudications or that would substantially impair or impede the ability of such
14   non-party Class members to protect their interests.
15         44.45. Defendants haves acted or refused to act in respects generally
16   applicable to The Classes, thereby making appropriate final and injunctive relief
17   with regard to the members of the Classes as a whole.
18                            FIRST CAUSE OF ACTION
19         Negligent Violations of the Telephone Consumer Protection Act
20                                   47 U.S.C. §227(b).
21            On Behalf of the ATDS Class and ATDS Revocation Class
22         45.46. Plaintiff repeats and incorporates by reference into this cause of action
23   the allegations set forth above at Paragraphs 1-454.
24         46.47. The foregoing acts and omissions of Defendants constitute numerous
25   and multiple negligent violations of the TCPA, including but not limited to each
26   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
27   47 U.S.C. § 227 (b)(1)(A).
28         47.48. As a result of Defendant’s’ negligent violations of 47 U.S.C. § 227(b),


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1    Plaintiff and the Class Members are entitled to an award of $500.00 in statutory
2    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
3          48.    Plaintiff and the ATDS Class and ATDS Revocation Class members
4    are also entitled to and seek injunctive relief prohibiting such conduct in the future.
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5                                                                                              Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
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6          49.
7                             SECOND CAUSE OF ACTION
8     Knowing and/or Willful Violations of the Telephone Consumer Protection
9                                             Act
10                                    47 U.S.C. §227(b)
11           On Behalf of the ATDS Class and the ATDS Revocation Class
12         49.50. Plaintiff repeats and incorporates by reference into this cause of action
13   the allegations set forth above at Paragraphs 1-454.
14         50.51. The foregoing acts and omissions of Defendants constitute numerous
15   and multiple knowing and/or willful violations of the TCPA, including but not
16   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
17   and in particular 47 U.S.C. § 227 (b)(1)(A).
18         51.52. As a result of Defendant’s’ knowing and/or willful violations of 47
19   U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
20   members are entitled to an award of $1,500.00 in statutory damages, for each and
21   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22         52.53. Plaintiff and the Class members are also entitled to and seek injunctive
23   relief prohibiting such conduct in the future.
24                             THIRD CAUSE OF ACTION
25          Negligent Violations of the Telephone Consumer Protection Act
26                                    47 U.S.C. §227(c)
27            On Behalf of the DNC Class and the DNC Revocation Class
28         53.54. Plaintiff repeats and incorporates by reference into this cause of action


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1    the allegations set forth above at Paragraphs 1-454.
2          54.55. The foregoing acts and omissions of Defendants constitute numerous
3    and multiple negligent violations of the TCPA, including but not limited to each
4    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
5    47 U.S.C. § 227 (c)(5).
6          55.56. As a result of Defendant’s’ negligent violations of 47 U.S.C. § 227(c),
7    Plaintiff and the DNC Class and DNC Revocation Class Members are entitled to
8    an award of $500.00 in statutory damages, for each and every violation, pursuant
9    to 47 U.S.C. § 227(c)(5)(B).
10         56.57. Plaintiff and the DNC Class and DNC Revocation Class members are
11   also entitled to and seek injunctive relief prohibiting such conduct in the future.
12                             FOURTH CAUSE OF ACTION
13    Knowing and/or Willful Violations of the Telephone Consumer Protection
14                                           Act
15                                  47 U.S.C. §227 et seq.
16              On Behalf of the DNC Class and DNC Revocation Class
17         57.58. Plaintiff repeats and incorporates by reference into this cause of action
18   the allegations set forth above at Paragraphs 1-44.
19         58.59. The foregoing acts and omissions of Defendants constitute numerous
20   and multiple knowing and/or willful violations of the TCPA, including but not
21   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
22   in particular 47 U.S.C. § 227 (c)(5).
23         59.60. As a result of Defendant’s’ knowing and/or willful violations of 47
24   U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
25   are entitled to an award of $1,500.00 in statutory damages, for each and every
26   violation, pursuant to 47 U.S.C. § 227(c)(5).
27         60.61. Plaintiff and the DNC Class and DNC Revocation Class members are
28   also entitled to and seek injunctive relief prohibiting such conduct in the future.


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1                               PRAYER FOR RELIEF
2    WHEREFORE, Plaintiff requests judgment against Defendants for the following:
3                            FIRST CAUSE OF ACTION
4          Negligent Violations of the Telephone Consumer Protection Act
5                                  47 U.S.C. §227(b)
6               As a result of Defendant’s’ negligent violations of 47 U.S.C.
7               §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
8               Class members are entitled to and request $500 in statutory damages,
9               for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
10              Any and all other relief that the Court deems just and proper.
11                         SECOND CAUSE OF ACTION
12   Knowing and/or Willful Violations of the Telephone Consumer Protection
13                                         Act
14                                 47 U.S.C. §227(b)
15              As a result of Defendant’s’ willful and/or knowing violations of 47
16              U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
17              Revocation Class members are entitled to and request treble damages,
18              as provided by statute, up to $1,500, for each and every violation,
19              pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
20              Any and all other relief that the Court deems just and proper.
21                          THIRD CAUSE OF ACTION
22         Negligent Violations of the Telephone Consumer Protection Act
23                                 47 U.S.C. §227(c)
24              As a result of Defendant’s’ negligent violations of 47 U.S.C.
25              §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
26              members are entitled to and request $500 in statutory damages, for
27              each and every violation, pursuant to 47 U.S.C. 227(c)(5).
28              Any and all other relief that the Court deems just and proper.


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1                            FOURTH CAUSE OF ACTION
2     Knowing and/or Willful Violations of the Telephone Consumer Protection
3                                             Act
4                                      47 U.S.C. §227(c)
5                As a result of Defendant’s’ willful and/or knowing violations of 47
6                 U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
7                 Class members are entitled to and request treble damages, as provided
8                 by statute, up to $1,500, for each and every violation, pursuant to 47
9                 U.S.C. §227(c)(5).
10               Any and all other relief that the Court deems just and proper.
11
12         61.62. Pursuant to the Seventh Amendment to the Constitution of the United
13   States of America, Plaintiff is entitled to, and demands, a trial by jury.
14
15
16         Respectfully Submitted this 20th Day of January, 2021.
17                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
18
                                        By: /s/ Todd M. Friedman
19                                          Todd M. Friedman
20
                                            Law Offices of Todd M. Friedman
                                            Attorney for Plaintiff
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